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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

SUVARCHALA DEVI CHIRAVURI,
        Plaintiff,                                   Case No. 24-cv-10587
v.                                                   Hon. Mark A. Goldsmith
UNIVERSITY OF MICHIGAN, UNIVERSITY
OF MICHIGAN BOARD OF REGENTS, and
GEORGE MASHOUR, University of Michigan
Chair of Anesthesiology, and LORI RIEGGER,
Division Chief of Pediatric Anesthesiology,
sued in their personal and official capacities,

        Defendants.
David A. Nacht (P47034)                        Brian M. Schwartz (P69018)
Fabiola A. Galguera (P84212)                   MILLER, CANFIELD,
Grace C. Cretcher                              PADDOCK, AND STONE,
NACHTLAW, P.C.                                 P.L.C.
Attorneys for Plaintiff                        Attorneys for Defendant
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gcretcher@nachtlaw.com

       NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        PLEASE        TAKE   NOTICE     that    Plaintiff   SUVARCHALA            DEVI

CHIRAVURI, pursuant to Federal Rule of Civil Procedure 41(a)(1), hereby

voluntarily dismisses this action without prejudice against all the Defendants.
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      Defendants have not answered Plaintiff’s Complaint, nor filed a motion for

summary judgment. Accordingly, this matter may be dismissed without prejudice.

                                                Respectfully Submitted,

                                                NACHTLAW, P.C.
                                                /s/ David A. Nacht
                                                David A. Nacht (P47034)
                                                Attorneys for Plaintiff
Dated: June 4, 2024


                          CERTIFICATE OF SERVICE
      I hereby certify that a copy of the foregoing was filed electronically with the

Court’s electronic filing system. Notice of this filing will be sent by the Court’s

electronic filing system to all parties of record.


                                                 /s/ Karina Alvarez__
                                                Karina Alvarez, Litigation Paralegal

Dated: June 4, 2024




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